                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                               EASTERN DIVISION


CRAIG SCHULTZ AND BELEN
SCHULTZ,                                               NO: 14-cv-2038-EJM

       Plaintiffs,

vs.

VERIZON WIRELESS SERVICES, LLC,

       Defendant.
                       ____________________________________

                                       COMPLAINT

                                  NATURE OF ACTION

       1.      This is an action brought under the federal Telephone Consumer Protection

Act (“TCPA”), 47 U.S.C. § 227 and the Iowa Debt Collection Practices Act (“IDCPA”),

Iowa Code § 537.7103.

                                     JURISDICTION

       2.      This Court has jurisdiction pursuant to 47 U.S.C. § 227(b)(3).

       3.      Venue is proper before this Court, where the acts and transactions giving

rise to Plaintiffs’ action occurred in this district, where Plaintiffs reside in this district,

and where Defendant transacts business in this district.




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                                         PARTIES

       4.      Plaintiffs Craig Schultz and Belen Schultz (“Plaintiffs”) are natural persons

and husband and wife who at all relevant times resided in the State of Iowa, County of

Chikasaw, and City of Ionia.

       5.      Defendant, Verizon Wireless Services, LLC (“Defendant”) is an entity who

at all relevant times was engaged, by use of the mails and telephone, in the business of

attempting to collect a “debt” from Plaintiffs.

                               FACTUAL ALLEGATIONS

       6.      Plaintiffs are natural persons obligated, or allegedly obligated, to pay a debt

or debts owed or due to Defendant.

       7.      Plaintiffs’ obligations, or alleged obligations, arises from a transaction in

which the money, property, insurance, or services that are the subject of the transaction

were incurred primarily for personal, family, or household purposes—namely personal

cellular telephone services rendered (the “Debt”).

       8.      Mrs. Schultz sent written communication to Defendant disputing a billing

error on July 22, 2013. See July 22, 2013 Correspondence, attached as Exhibit A.

       9.      Mrs. Schultz’s July 22, 2013 correspondence stated in pertinent part:

               Please be advised that it is inconvenient for Verizon to call
               any of my cell phone numbers. I revoke any prior express
               consent for Verizon to call the above mentioned numbers
               concerning any billing errors or disputes.




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       10.    On July 31, 2013, Defendant responded to Mrs. Schultz’s July 22, 2013,

correspondence acknowledging receipt of Mrs. Schultz’s correspondence, and stating in

pertinent part:

              I would be happy to speak with you regarding this matter and
              would like to review the billing associated with the mobile
              number in question, but you requested not to be contacted
              via telephone.

See July 31, 2013 Correspondence, attached as Exhibit B (emphasis added).

       11.    On August 27 and 28, 2013, Defendant sent Mrs. Schultz e-mails that each

confirmed Defendant’s understanding that Belen had requested not to be contacted via

telephone. See August 27, 2013 Correspondence, attached as Exhibit C; August 28, 2013

Correspondence, attached as Exhibit D.

       12.    On September 23, 2013, Mrs. Schultz sent written communication to

Defendant in connection with the billing dispute of the Debt. See September 23, 2013

Correspondence, attached as Exhibit E.

       13.    In Mrs. Schultz’s September 23, 2013, written correspondence, she stated

in pertinent part:

              I revoke all consent to contact me by cell phone. This
              revocation of express consent passes on to any and all
              assignees of my Verizon account.

       14.    Defendant responded to Mrs. Schultz’s September 23, 2013, written

correspondence acknowledging receipt of it on October 3, 2013.

       15.    Defendant placed telephone calls to Plaintiffs’ cellular telephone numbers,

including on the following dates and approximate times:


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   1. September 3, 2013 at 2:29 PM;
   2. September 3, 2013 at 4:04 PM;
   3. September 4, 2013 at 2:25 PM;
   4. September 4, 2013 at 4:03 PM;
   5. September 4, 2013 at 7:03 PM;
   6. September 5, 2013 at 10:07 AM;
   7. September 5, 2013 at 1:04 PM;
   8. September 5, 2013 at 7:03 PM;
   9. September 6, 2013 at 10:06 AM;
   10. September 6, 2013 at 1:02 PM;
   11. September 6, 2013 at 4:03 PM;
   12. September 6, 2013 at 7:02 PM;
   13. September 7, 2013 at 10:06 AM;
   14. September 7, 2013 at 1:03 PM;
   15. September 7, 2013 at 4:02 PM;
   16. September 7, 2013 at 7:03 PM;
   17. September 9, 2013 at 10:09 AM;
   18. September 9, 2013 at 1:05 PM;
   19. September 9, 2013 at 4:03 PM;
   20. September 9, 2013 at 7:03 PM;
   21. September 10, 2013 at 10:09 AM;
   22. September 10, 2013 at 1:02 PM;
   23. September 10, 2013 at 4:02 PM;
   24. September 10, 2013 at 7:03 PM;
   25. September 11, 2013 at 10:04 AM;
   26. September 11, 2013 at 1:02 PM;
   27. September 11, 2013 at 4:02 PM;
   28. September 12, 2013 at 8:27 AM;
   29. September 12, 2013 at 12:46 PM;
   30. September 13, 2013 at 8:10 AM;
   31. September 13, 2013 at 11:32 AM;
   32. September 13, 2013 at 3:10 PM;
   33. September 13, 2013 at 3:14 PM;
   34. September 13, 2013 at 5:26 PM;
   35. September 14, 2013 at 2:30 PM;
   36. September 14, 2013 at 5:05 PM;
   37. September 14, 2013 at 5:07 PM;
   38. September 17, 2013 at 12:57 PM;
   39. September 17, 2013 at 1:52 PM;
   40. September 18, 2013 at 2:04 PM;
   41. September 19, 2013 at 9:51 AM;
   42. September 19, 2013 at 12:50 PM;
   43. September 19, 2013 at 2:45 PM;

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              44. September 19, 2013 at 2:48 PM;
              45. September 19, 2013 at 4:54 PM;
              46. September 24, 2013 at 8:48 AM;
              47. November 7, 2013 at 1:09 PM;
              48. November 7, 2013 at 4:25 PM;
              49. November 8, 2013 at 8:01 AM;
              50. November 8, 2013 at 8:02 AM;
              51. November 8, 2013 at 11:02 AM;
              52. November 8, 2013 at 1:51 PM;
              53. November 11, 2013 at 12:40 PM;
              54. November 12, 2013 at 1:37 PM;
              55. November 12, 2013 at 2:57 PM;
              56. November 12, 2013 at 4:22 PM;
              57. November 12, 2013 at 4:24 PM;
              58. November 13, 2013 at 9:07 AM;
              59. November 13, 2013 at 12:04 PM;
              60. November 13, 2013 at 2:21 PM; and
              61. November 13, 2013 at 5:08 PM;

       16.    Defendant left a pre-recorded voicemail on Mrs. Schultz’s cellular

telephone on the following dates:

              1. September 4, 2013; and
              2. September 11, 2013;

       17.    Defendant additionally left a pre-recorded voicemail on Mr. Schultz’s

cellular telephone on the following dates:

              1.   September 3, 2013;
              2.   September 5, 2013;
              3.   September 6, 2013;
              4.   September 7, 2013;
              5.   September 9, 2013; and
              6.   September 10, 2013.

       18.    During September, October, and November, 2013, Defendant placed at

least 13 text messages to Mr. Schultz’s cellular telephone number.




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       19.     During September, October, and November, 2013, Defendant placed at

least 4 text messages to Mrs. Schultz’s cellular telephone number.

       20.     Between March 28, 2014 and April 9, 2014, Defendant placed at least 6

telephone calls to Mr. Schultz’s new cellular telephone number.

       21.     Upon information and belief, all of the telephone calls identified above

were placed to Plaintiffs’ cellular telephone numbers using an automatic telephone

dialing system.

       22.     Upon information and belief, all of the text messages identified above were

placed to Plaintiffs’ cellular telephone numbers using an automatic telephone dialing

system.

       23.     All of the voicemails identified above were placed to Plaintiffs’ cellular

telephone numbers using an artificial or pre-recorded voice.

       24.     Defendant did not place any telephone calls to Plaintiffs for emergency

purposes.

       25.     Defendant did not have prior express consent to contact Plaintiffs on their

cellular telephone numbers.

       26.     Upon information and belief, Defendant placed the telephone calls

identified above voluntarily.

       27.     Upon information and belief, Defendant placed the telephone calls

identified above under its own free will.

       28.     Upon information and belief, Defendant had knowledge that it was using an

automatic telephone dialing system to place telephone calls to Plaintiffs.

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       29.      Upon information and belief, Defendant intended to use an automatic

telephone dialing system to place telephone calls to Plaintiffs.

       30.      Upon information and belief, Defendant maintains business records that

document all telephone calls placed to Plaintiffs.

                                     COUNT I
                             VIOLATION OF 47 U.S.C. § 227

       31.      Plaintiffs repeat and re-allege each and every factual allegation above.

       32.      Defendant violated 47 U.S.C. 227(b)(1)(A)(iii) by willfully and knowingly

placing telephone calls to Plaintiffs’ cellular telephone numbers using an automatic

telephone dialing system and/or an artificial or pre-recorded voice.

       WHEREFORE, Plaintiffs pray for relief and judgment, as follows:

             a) Adjudging that Defendant violated 47 U.S.C. § 227(b)(1)(A)(iii);

             b) Enjoining Defendant from placing any further telephone calls to Plaintiffs

                in violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(A);

             c) Awarding Plaintiffs statutory damages in the amount of $500.00 per

                violation, pursuant to 47 U.S.C. § 227(b)(3)(B).

             d) Awarding Plaintiffs actual damages, pursuant to 47 U.S.C. § 227(b)(3)(B);

             e) Awarding Plaintiffs treble damages, pursuant to 47 U.S.C. § 227(b)(3);

             f) Awarding Plaintiffs reasonable attorneys’ fees and costs incurred in this

                action;

             g) Awarding Plaintiffs any pre-judgment and post-judgment interest as may be

                allowed under the law; and


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            h) Awarding other and further relief as this Court may deem just and proper.

                                    COUNT II
                         VIOLATION OF IDCPA § 537.7103(1)(f)

      21.      Plaintiffs repeat and re-allege each and every factual allegation above.

      22.      Defendant violated the IDCPA at § 537.7103(1)(f) by taking an action

prohibited by law.

      WHEREFORE, Plaintiffs pray for relief and judgment, as follows:

            a) Adjudging that Defendant violated Iowa Code § 537.7103(1)(f);

            b) Awarding Plaintiffs statutory damages, under Iowa Code Ann. §

               537.5201(1.a)(25) in the amount of $1,000.00;

            c) Awarding Plaintiffs actual damages, under Iowa Code Ann. §

               537.5201(1.a)(25);

            d) Awarding Plaintiffs reasonable attorneys’ fees and costs incurred in this

               action under Iowa Code Ann. § 537.5201(8);

            e) Awarding Plaintiffs pre-judgment and post-judgment interest as permissible

               by law, and

            f) Awarding such other and further relief as the Court may deem just and

               proper.

                                    COUNT III
                         VIOLATION OF IDCPA § 537.7103(2)(d)

      21.      Plaintiffs repeat and re-allege each and every factual allegation above.

      22.      Defendant violated the IDCPA at § 537.7103(2)(d) by causing a telephone

to ring or engaging a person in telephone conversation repeatedly or continuously or at

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unusual hours or times known to be inconvenient, with intent to annoy, harass or threaten

a person.

      WHEREFORE, Plaintiffs pray for relief and judgment, as follows:

            a) Adjudging that Defendant violated Iowa Code § 537.7103(2)(d);

            b) Awarding Plaintiffs statutory damages, under Iowa Code Ann. §

               537.5201(1.a)(25) in the amount of $1,000.00;

            c) Awarding Plaintiffs actual damages, under Iowa Code Ann. §

               537.5201(1.a)(25);

            d) Awarding Plaintiffs reasonable attorneys’ fees and costs incurred in this

               action under Iowa Code Ann. § 537.5201(8);

            e) Awarding Plaintiffs pre-judgment and post-judgment interest as permissible

               by law, and

            f) Awarding such other and further relief as the Court may deem just and

               proper.

                                     TRIAL BY JURY

      23.      Plaintiffs are entitled to and hereby demand a trial by jury.

Dated: June 17, 2014                       Respectfully submitted,

                                           /s/ JD Haas
                                           JD Haas, Esq., AT0003014
                                           JD Haas and Associates, PLLC
                                           Attorneys for Plaintiff
                                           10564 France Avenue South
                                           Bloomington, MN 55431
                                           Telephone:      (952) 345-1025
                                           Facsimile:      (952) 854-1665
                                           Email: JDHaas@consumerlawinfo.com

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